     Case 2:21-cv-01612-CDS-BNW Document 119 Filed 10/23/24 Page 1 of 8




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17                             UNITED STATES DISTRICT COURT
18                                     DISTRICT OF NEVADA
19 JOSE CHUNG LUO, Individually and on       )   No. 2:21-cv-01612-CDS-BNW
   Behalf of All Others Similarly Situated,  )
20                                           )   CLASS ACTION
                                 Plaintiff,  )
21                                           )   JOINT PROPOSED DISCOVERY PLAN
          vs.                                )   PURSUANT TO FEDERAL RULE OF
22                                           )   CIVIL PROCEDURE 26(f)
   SPECTRUM PHARMACEUTICALS, INC., et )
23 al.,                                      )   SPECIAL SCHEDULING REVIEW
                                             )   REQUESTED
24                               Defendants. )
                                             )
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      4864-8417-4320.v1
     Case 2:21-cv-01612-CDS-BNW Document 119 Filed 10/23/24 Page 2 of 8




 1             Pursuant to Federal Rule of Civil Procedure 26(f) and the Court’s October 9, 2024 Order

 2 (ECF 117), International Trading Group, Inc. (“Lead Plaintiff”) and Spectrum Pharmaceuticals, Inc.

 3 (“Spectrum” or the “Company”), Joseph W. Turgeon, Kurt A. Gustafson, Dr. Francois J. Lebel, and

 4 Thomas J. Riga (collectively, “Defendants,” and together with Lead Plaintiff, the “Parties”) hereby

 5 submit this Joint Proposed Discovery Plan.

 6 I.          PARTIES WHO ATTENDED THE RULE 26(f) CONFERENCE
 7             The Parties met telephonically on October 14, 2024. All Parties attended the Rule 26(f)

 8 conference and assisted in developing this Joint Proposed Discovery Plan:

 9             •          Lead Plaintiff (represented at the Rule 26(f) conference by Robbins Geller Rudman
                          & Dowd LLP); and
10
               •          Defendants (represented at the Rule 26(f) conference by Baker Botts L.L.P.).
11

12 II.         DISCUSSION OF NECESSARY DISCOVERY

13             A.         Extent, Nature, and Location of Anticipated Discovery

14             Lead Plaintiff intends to seek written and oral discovery on all the factual bases underlying

15 its §§10(b), 20(a), and 20(A) claims pursuant to the Securities Exchange Act of 1934, including,

16 inter alia: (1) the false and misleading nature of the alleged misstatements at issue; (2) the

17 materiality of those statements; (3) Defendants’ knowledge of, or reckless disregard for, the true

18 facts undercutting the alleged misstatements at issue; (4) Defendants’ motive and opportunity to
19 commit the alleged fraud; (5) Defendants’ transactions in Spectrum common stock; (6) the market

20 for Spectrum common stock; (7) the decline in the price of Spectrum common stock; and

21 (8) Defendants’ control over the Company and each other. Lead Plaintiff anticipates that much of

22 this discovery will be located at Spectrum’s corporate headquarters.

23             Lead Plaintiff maintains that discoverable information related to these issues would further

24 include, inter alia, the following general categories: (1) Spectrum’s business and operations; (2) the

25 impact of poziotinib on Spectrum’s business and operations; (3) the impact of the MD Anderson trial

26 and the ZENITH20 trial on Spectrum’s business and operations; (4) the extent and content of

27 Defendants’ communications with the Food and Drug Administration; (5) Defendants’ knowledge of

28 the efficacy of existing treatments for Non-Small Cell Lung Cancer (“NSCLC”); (6) Defendants’

                                                         -1-
      4864-8417-4320.v1
     Case 2:21-cv-01612-CDS-BNW Document 119 Filed 10/23/24 Page 3 of 8




 1 access to ZENITH20 trial data; and (7) Defendants’ knowledge regarding the results of the

 2 ZENITH20 trial throughout the Class Period of March 7, 2018 through August 5, 2021.

 3             Defendants do not agree that all such information is discoverable, and in particular dispute

 4 that any information related to the ZENITH20 trial is discoverable following the Court’s October 7,

 5 2024 Order Granting in Part and Denying in Part Defendants’ Motion to Dismiss Second Amended

 6 Complaint (ECF 116), and dispute that Lead Plaintiff can seek to maintain any putative Class Period

 7 outside of May 3, 2018 through December 19, 2018.

 8             Defendants intend to seek written and oral discovery on Lead Plaintiff’s acquisition and sale

 9 of Spectrum securities, Lead Plaintiff’s reliance on the alleged misrepresentations, and the alleged

10 damages. Defendants may also seek written and oral discovery from nonparties related to Lead

11 Plaintiff’s claims.

12             B.         Modifications to Discovery Limitations
13             The Parties are aware that Civil Local Rule 26-1(b)(1) provides that, unless the Court orders

14 otherwise, discovery periods longer than 180 days from the date the first defendant answers or

15 appears require special review. The Parties’ agreed-upon schedule below provides a discovery

16 period (inclusive of fact discovery and expert discovery, which the Parties agree should occur

17 sequentially in this matter), which is 401 days after the scheduled settlement conference (ECF 118),

18 508 days after the Court entered its Order Granting in Part and Denying in Part Defendants’ Motion
19 to Dismiss Second Amended Complaint (ECF 116), and 1,470 days after the first defendant

20 appeared in this matter (ECF 30). The Parties agree that the period proposed in this Joint Proposed

21 Discovery Plan is reasonable for several reasons. First, pursuant to the Private Securities Litigation

22 Reform Act of 1995 (“PSLRA”), “all discovery and other proceedings” have been “stayed during the

23 pendency of [Defendants’] motion[s] to dismiss.” 15 U.S.C. §78u-4(b)(3). By statute, the Parties

24 thus have not previously been able to engage in any discovery. Second, this case is a complex class

25 action brought under the Securities Exchange Act of 1934, which the Parties anticipate will involve

26 not only discovery from the Parties but also document and deposition subpoenas to several

27 nonparties. Third, the Parties will also be briefing a motion for class certification during the fact-

28 discovery period. Fourth, as set forth below, the Parties intend to delay substantial portions of

                                                       -2-
      4864-8417-4320.v1
     Case 2:21-cv-01612-CDS-BNW Document 119 Filed 10/23/24 Page 4 of 8




 1 discovery until after an initial settlement conference, currently set for January 22, 2025 (the “Initial

 2 Settlement Conference”) (see ECF 118), but will engage in work prior to that date which will permit

 3 discovery to begin in earnest promptly following that date, if the Initial Settlement Conference is

 4 unsuccessful.

 5             It is Defendants’ position that because the Court’s October 7, 2024 Order provides that “[i]f

 6 the parties are unable to reach an agreement resolving the claim [at the scheduled settlement

 7 conference], [Lead Plaintiff] will have the option to amend [its] complaint within fifteen days of the

 8 failed settlement conference” (ECF 116 at 32), discovery is properly stayed until fifteen days

 9 following the Initial Settlement Conference pursuant to the PSLRA and governing law.

10             Lead Plaintiff does not agree that the Court’s October 7, 2024 Order mandates or even

11 suggests a discovery stay prior to the Initial Settlement Conference. Lead Plaintiff believes this

12 position is supported by the PSLRA, controlling case law, and the Court’s Order to file this Joint

13 Proposed Discovery Plan three months prior to the already-scheduled Initial Settlement Conference

14 (ECF 117). But in the spirit of compromise, and without waiver of their legal arguments, the Parties

15 have agreed that in this instance it is appropriate to delay certain discovery until after the Initial

16 Settlement Conference as described below.

17             The Parties agree that, except by mutual agreement, they will engage only in the following

18 discovery prior to the conclusion of the Initial Settlement Conference:
19             1.         The Parties will serve their Rule 26(a)(1) initial disclosures by November 8, 2024.

20             2.         The Parties may serve Rule 34 requests for production on each other, in which case

21 the receiving Party shall respond in writing, and the Parties thereafter will meet and confer on those

22 responses and any objections, and work in good faith to attempt to reach agreement on scope of

23 production and, as appropriate, custodians and search terms.

24             3.         Prior to the Initial Settlement Conference, the Parties will agree on an ESI protocol

25 and submit to the Court a proposed Rule 26(c) protective order to address the protection of

26 confidential information and other issues.

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                                                          -3-
      4864-8417-4320.v1
     Case 2:21-cv-01612-CDS-BNW Document 119 Filed 10/23/24 Page 5 of 8




 1 III.        ALTERNATIVE DISPUTE RESOLUTION
 2             The Parties certify that they met and conferred about the possibility of using alternative

 3 dispute resolution processes, including mediation, arbitration, and if applicable, early neutral

 4 evaluation.

 5             The Court has scheduled the Initial Settlement Conference for January 22, 2025 at 10:00 a.m.

 6 with Magistrate Judge Brenda Weksler. See ECF 118. If a resolution is not reached at the Initial

 7 Settlement Conference, the Parties consent to attempting resolution through mediation but do not

 8 consent to other alternative dispute resolution processes at this time.

 9 IV.         ALTERNATIVE FORMS OF CASE DISPOSITION
10             The Parties certify that they considered consent to trial by a magistrate judge under 28 U.S.C.

11 §636(c) and Federal Rule of Civil Procedure 73 and the use of the Short Trial Program (District of

12 Nevada General Order 2013-01). Neither party gives such consent at this time.

13 V.          ELECTRONIC EVIDENCE
14             The Parties certify that they discussed whether they intend to present evidence in electronic

15 format to jurors for the purposes of jury deliberations. Although the Parties agree that a jury trial

16 would likely involve presenting electronic evidence, they agreed to defer discussion of the

17 particulars of those presentations until closer to trial.

18 VI.         PRE-TRIAL DEADLINES
19                              EVENT                                          DEADLINE
            Exchange of Rule 26(a)(1) Initial Disclosures           Friday, November 8, 2024
20
            Lead Plaintiff’s Deadline to Amend the Operative        Thursday, February 6, 2025
21          Complaint per ECF 116
22          Defendants’ Answer (if Lead Plaintiff does              In the event Lead Plaintiff does
            exercise its option to amend)                           exercise its option to amend its
23                                                                  complaint on or before
                                                                    February 6, 2025, the Parties will
24                                                                  within 7 days confer on and
                                                                    submit to the Court a proposed
25
                                                                    schedule for briefing Defendants’
26                                                                  anticipated motion to dismiss or
                                                                    other responsive filing.
27          Defendants’ Answer (if Lead Plaintiff does not          Thursday, February 27, 2025
28          exercise its option to amend)

                                                        -4-
      4864-8417-4320.v1
     Case 2:21-cv-01612-CDS-BNW Document 119 Filed 10/23/24 Page 6 of 8




 1                               EVENT                                       DEADLINE
            Lead Plaintiff’s Motion for Class Certification       Thursday, April 3, 2025
 2
            Defendants’ Opposition to Class Certification         Thursday, May 29, 2025
 3
            Lead Plaintiff’s Reply ISO Class Certification        Thursday, July 24, 2025 1
 4          Substantial Completion of Document Production         Friday, August 8, 2025
 5          Last Day to File Motion Seeking Joinder of            Monday, September 15, 2025
            Additional Parties
 6          Last Day to File Motion Seeking Leave to Amend        Monday, September 15, 2025
            Pleadings
 7
            Completion of Fact Discovery                          Wednesday, October 22, 2025
 8          Parties’ Opening Expert Reports on Any Issue on       Friday, November 21, 2025
 9          Which the Party Has the Burden of Proof 2
            Parties’ Rebuttal Expert Reports                      Friday, January 23, 2026
10
            Completion of Expert Depositions                      Friday, February 27, 2026
11          Parties’ Dispositive Motions and Daubert              Friday, March 27, 2026
            Motions
12
            Oppositions to Dispositive Motions and Daubert        Tuesday, May 26, 2026
13          Motions

14          Replies in Support of Dispositive Motions and         Friday, July 24, 2026
            Daubert Motions
15          Joint Pretrial Order                                  Within 14 days following the
                                                                  Court’s final decision on any
16                                                                dispositive motions filed by the
17                                                                above deadline, the Parties shall
                                                                  meet and confer and submit to the
18                                                                Court a proposed deadline for
                                                                  filing of the Joint Pretrial Order.
19

20 DATED: October 23, 2024                             ROBBINS GELLER RUDMAN & DOWD LLP
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                                                       JOHN M. KELLEY
22                                                     JESSICA E. ROBERTSON
23

24                                                                     s/ Jeffrey J. Stein
                                                                      JEFFREY J. STEIN
25
   1
26 bearIfthe
          Defendants present any issue in their Opposition to Class Certification on which Defendants
             burden, the Parties shall confer on Defendants’ ability to file a sur-reply brief and sur-reply
   expert  report, and the timing of such submissions.
27
   2
       The deadlines provided herein for expert discovery and reports do not include those related to
28 class certification.

                                                      -5-
      4864-8417-4320.v1
     Case 2:21-cv-01612-CDS-BNW Document 119 Filed 10/23/24 Page 7 of 8




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      4864-8417-4320.v1
     Case 2:21-cv-01612-CDS-BNW Document 119 Filed 10/23/24 Page 8 of 8




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                                          Counsel for Defendant Spectrum
13                                        Pharmaceuticals, Inc.
14

15
                                     *     *     *
16
                                         ORDER
17
               IT IS SO ORDERED.
18
      DATED:
19                                       THE HONORABLE CRISTINA D. SILVA
                                         UNITED STATES DISTRICT JUDGE
20

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